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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="64a1a78107"&gt;&lt;span data-sentence-id="64a1a78107" quote="false" data-paragraph-id="64a1a78107"&gt; In Re People in the interest of J.D. &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="f88a3d0e4d"&gt;No. 24SA193&lt;/p&gt;&lt;p data-paragraph-id="d3fe84847c"&gt;&lt;span data-sentence-id="d3fe84847c" quote="false" data-paragraph-id="d3fe84847c"&gt;Supreme Court of Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="b90ea0827a"&gt;&lt;span data-sentence-id="1c03a35988" quote="false" data-paragraph-id="b90ea0827a"&gt; &lt;strong&gt;ORIGINAL PROCEEDING&lt;/strong&gt; &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="21153b046a"&gt;&lt;span data-sentence-id="ba2a3734df" quote="false" data-paragraph-id="21153b046a"&gt; Show Cause order issued on July 8, 2024 &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="cce56963ba"&gt;&lt;span data-sentence-id="cc610b652a" quote="false" data-paragraph-id="cce56963ba"&gt; RULE CHANGE 2024(12) &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="6f5a381268"&gt;&lt;span data-sentence-id="9e85505022" quote="false" data-paragraph-id="6f5a381268"&gt; COLORADO RULES OF CIVIL PROCEDURE Rule 84 &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="3660b130d2"&gt;&lt;span data-sentence-id="aa7fb639cc" quote="false" data-paragraph-id="3660b130d2"&gt; Amended and Adopted by the Court, En Banc, June 28, 2024, effective immediately.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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